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                            UNITED STATES DISTRICT COURT
                                        for the                                 28f5 SEP 30 AH 8: 53
                                DISTRICT OF VERMONT
                                                                                               CLERK
                                                                                IY              ~
Michael and Karen Hathaway                                              Civil Action Mf.OTY CLE*R
Plaintiffs
                                                                            '5~ llo   0

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                                                                                                r



v.

Kent Corporation, a foreign corporation
Defendant


                                     MOTION TO DISMISS


      Pursuant to Fed.R.Civ.P. 41, Michael and Karen Hathaway move to dismiss the Complaint.


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      Dated at Burlington, Vermont this   R.   day of September 2016.




                                  BY:
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